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UNITED STATES BANKRUPTCY COURT
NORTHERN DIVISION OF FLORIDA

PENSACOLA DIVISION
IN RE:
Gulf l\/[edical Services, Inc. Case No.: 18-30012 JCO
Chapter ll

Debtor-in-Possession.

 

MOTION FOR AUTHORITY TO PAY AFFILIATE OFFICER SALARY

 

Pursuant to Paragraph B of the Administrative Order (05~001)
Establishing Initial Procedures in Chapter ll Cases entered by the Court on
May 9, 2005, applicable to all Chapter ll proceedings, the Debtor-in-
Possession, by and through its undersigned attorney, hereby files this Motion
for Authority to Pay Affiliate Officer Salary and in Support thereof does
state:

l. The Debtor filed its chapter ll voluntary petition for relief on
January 5, 2018. The Debtor operates a medical supply company Which
provides medical equipment for in-home use by its customers based on
prescriptions from their physicians The Debtor operates four separate
locations along the northern gulf coast Which include offices in Pensacola,
Ft. Walton Beach, Panama City and Tallahassee. During the year prior to the

filing of the bankruptcy petition, the Debtor generated approximately

 

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$8,()()0,000.00 dollars in gross revenue.

2. The Debtor is operated and managed by Kenneth Steber Who is
the 90% shareholder of the Debtor. As such, Kenneth Steber is an “Affiliate
Officer” as that term is defined in section lOl(Z)(A) of the Bankruptcy
Code.

3. Kenneth Steber provides significant services to the Debtor as
set forth more specifically in the attached “Exhibit A”.

4. Prior to the filing of the bankruptcy petition by the Debtor,
Kenneth Steber received the sum of $650,000.00 annually in compensation
from the Debtor Which includes a combination of salary and distributions

5. The participation and management duties of Kenneth Steber are
necessary for the operation of the business. Kenneth Steber has agreed to
reduce his compensation to the sum of $250,000.00 annually during the
pendency of this chapter ll bankruptcy case subject to any modifications of
that amount as may be set forth in a confirmed Plan filed in this case.

6. The Debtor believes that the proposed compensation in the
amount of $250,000.00 annually is reasonable given the scope of duties of

Kenneth Steber and the value of the services to be provided

 

 

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WHEREFORE, the Debtor requests the Court to enter its Order
Approving Affiliate foicer Salary as set forth above, retroactive to the date

of the filing of the petition initiating this case.

mae

J. s‘rEvEN FoRlF, EsQUIRE
Florida Bar Number 512869
Wilson, Harrell, Farrington, Ford,
Wilson, Spain, & Parsons, P.A.
307 South Palafox Street
Pensacola, Florida 32502
Telephone: (850) 438-1111
Facsimile: (850) 432-8500
jsf@thf-law.com

CERTIFICATE OF SERVICE

 

I hereby certify that a true and correct copy of the foregoing has been
furnished to Jason Egan, United States Trustee, llO East Park Avenue, Suite
128, Tallahassee, Florida 32301, and to all Creditor's appearing on Debtor's
mailing matrix, by U.S. Mail, postage prepaid, or electronic mail this

26 of January, 2018.

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J. STEVEN FORD, ESQUIRE

18-30012-JCO Notice Will be electronically mailed to:

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J. Steven Ford on behalf of Attorney J. Steven Ford
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acl@esclavv.com, lgn@esclavv.com

Hovvard S. Toland on behalf of Creditor BLUE BRIDGE FINANCIAL INC
Htoland@mitrani.com

United States Trustee
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Eric B. ZWiebel on behalf of Creditor LEAF Capital Funding, LLC
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18-30012-JC() Notice Will not be electronically mailed to:

 

 

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Kenneth R. Steber
President and CEO

Gu|f |\/ledical Services, |nc.
3101 N.12th Ave.
Pensacola, F|orida 32503

President of Gulf l\/|edica| Services for over 20 years.

During that period |\/|r. Steber has managed and grown the company from three employees to 29 and
$8,000,000.00 in revenues annual|y.

Oversees all operations, administrative, sales and financial performance of the company.

Responsible for maintaining licensure and adhering to allstate and federal laws regarding this industry,
Dealing with numerous administrative agencies within the federal and State government (FDA, Agency
for Healthcare Administration, Centers for l\/ledicare and l\/ledicaid, Cl\/|S, Accrediting bodies BOC), third
party health insurers Center for |Vledicare and Cigna, Humana, Hea|th Spring. United Healthcare, and
We||Care.

Oversees all employment related issues, payroll, health insurance, taxes.

l\/|aintains overall P&L responsibility and operating results inclusive of reviewing and approving financial
reports, budgets, client’s contracts, review and approval of services, charges for services with knowledge
of reimbursement strategies and issues, reviewing and approving major expenditures and effective cost

controls.

Provides the operational thrust to expand production and service offerings and increasing revenue
streams.

Provides significant role in client development and relations.
Establishing and maintaining performance standards of the company.

Coordination of the activities and responsibilities of the management team to develop and achieve short
and long-term goals.

Extensive knowledge that is used to administer expertise in claims process and documentation
requirement for all Hl\/lE products covered by l\/ledicare and |Vledicaid.

Vast experience handling audits of claims processing through all auditing entities, RAC, ZP|C and CERT
agencies.

Lobbying Congressional representative to advocate for industry.

EXH|B|T

A»

 

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Label Matrix for local noticing
1129-3

Case 18-30012-JCO

Northern District of Florida
Pensacola

Tue Jan 23 10:08:31 EST 2018

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*Jason H. Egan

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The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g)(4).

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Palatine, IL 60055

End of Label Matrix

Mailable recipients 76
Bypassed recipients 0
Total 76

 

